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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                    Criminal No.5-cr-215-01-B

Christopher Stallings, et al.




                               O R D E R


     The defendant has moved to continue the February 7, 2006

trial in the above case.     Defendant cites the need for additional

time to investigate this matter, prepare for trial or complete

plea negotiations.    The government does not object to a

continuance of the trial date.

     Accordingly, in order to allow the parties additional time

for negotiations and/or properly prepare for trial, the court

will continue the trial from February 7, 2006 to May 2, 2006.

In agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      A final pretrial will be held on April 21, 2006 at 3:45pm.

      SO ORDERED.



                                         /s/ Paul Barbadoro
                                         Paul Barbadoro
                                         Chief Judge

January   30, 2006

cc:   Bjorn Lange, Esq.
      Paul Pappas, Esq.
      Donald Feith, Esq.
      United States Probation
      United States Marshal




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